Case 1:05-cr-00425-RPK   Document 67   Filed 02/21/06   Page 1 of 9 PageID #: 487
Case 1:05-cr-00425-RPK   Document 67   Filed 02/21/06   Page 2 of 9 PageID #: 488
Case 1:05-cr-00425-RPK   Document 67   Filed 02/21/06   Page 3 of 9 PageID #: 489
Case 1:05-cr-00425-RPK   Document 67   Filed 02/21/06   Page 4 of 9 PageID #: 490
Case 1:05-cr-00425-RPK   Document 67   Filed 02/21/06   Page 5 of 9 PageID #: 491
Case 1:05-cr-00425-RPK   Document 67   Filed 02/21/06   Page 6 of 9 PageID #: 492
Case 1:05-cr-00425-RPK   Document 67   Filed 02/21/06   Page 7 of 9 PageID #: 493
Case 1:05-cr-00425-RPK   Document 67   Filed 02/21/06   Page 8 of 9 PageID #: 494
Case 1:05-cr-00425-RPK   Document 67   Filed 02/21/06   Page 9 of 9 PageID #: 495
